                            1:19-cv-01241-CSB-EIL # 8        Page 1 of 1
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                                                                    Sunday, 09 February, 2020 06:01:55 PM
                                                                             Clerk, U.S. District Court, ILCD

                          UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS

DEMETRIUS GOLDEN,                            )
                                             )
               Plaintiff,                    )
                                             )       No. 19 CV 01241
       v.                                    )
                                             )
RANDALL MEISTER, NICHOLAS                    )       Judge Colin Stirling Bruce
ROSSI, SUSAN PRENTICE, and other             )
As-yet-unidentified employees of the         )       Magistrate Judge Eric I. Long
Illinois Department of Corrections,          )
                                             )
               Defendants.                   )

                                 STIPULATION TO DISMISS

       NOW COMES the Plaintiff, Demetrius Golden, by his attorney, Elizabeth N. Mazur, and

the Defendant, Nicholas Rossi, by his attorney, Kwame Raoul, Illinois Attorney General,

pursuant to a settlement agreement and Federal Rule of Civil Procedure 41(a)(1)(A)(ii), and

hereby stipulate to the dismissal of this case. The Plaintiff and the Defendants agree as follows:

       1.      This lawsuit shall be dismissed without prejudice until such time as payment is
               made pursuant to the parties’ settlement agreement. At that point, the dismissal
               shall automatically convert to dismissal with prejudice.

       2.      Each party shall bear their own attorney’s fees, costs and expenses.

AGREED:

/s/ Elizabeth Mazur                                  /s/Kimberly W. Leung

Elizabeth N. Mazur                                   Kimberly W. Leung
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Date: February 9, 2020                               Date: February 9, 2020
